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1
     Randall T. Garteiser (CA State Bar No. 231821)
        rgarteiser@ghiplaw.com
2    Christopher A. Honea (CA State Bar No. 232473)
3
        chonea@ghiplaw.com
     GARTEISER HONEA— IP TRIAL BOUTIQUE
4    795 Folsom St., Floor 1, San Francisco, CA 94107
5
     119 W Ferguson, Tyler, TX 75702
     Telephone: (888) 908-4400
6

7    Attorney for Plaintiff

8
                      IN THE UNITED STATES DISTRICT COURT
9
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11
         DIGITAL VERIFICATION SYSTEMS,
12       LLC
                                                          Case No. 5:23-cv-4240
13                Plaintiff,
14                                                        Jury Trial Demanded
                   v.
15

16       HONEYBOOK INC.,
17              Defendants.

18
             ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT
19

20           Plaintiff Digital Verification Systems, LLC (“Plaintiff” and/or “DVS”)
21   files this complaint against HoneyBook, Inc. (“Defendant”), for infringement of
22   U.S. Patent No. 9,054,860 (hereinafter “the “’860 Patent”)1 and alleges as
23   follows:
24                                      PARTIES
25           1.    Plaintiff is a Texas limited liability company with an address of 1
26   East Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
27
     1
        The ’860 patent expires no earlier than April 7, 2034. The DVS patent family also
28   includes U.S. Patent Nos. 9,917,834 and 10,498,732.
                                               1
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1             2.   Defendant has its United States primary place of business located at
2    539 Byrant St, San Francisco, CA 84107
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     Figure 1 – Excerpt from HoneyBook.com website as visited last on August 14,
12
     2023.
13
                              JURISDICTION AND VENUE
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              3.   This action arises under the patent laws of the United States, 35
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     U.S.C. § 271 et seq. Plaintiff is seeking damages, as well as attorney fees and
16
     costs.
17
              4.   Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331
18
     (Federal Question) and 1338(a) (Patents).
19
              5.   On information and belief, this Court has personal jurisdiction over
20
     Defendant because Defendant has committed, and continues to commit, acts of
21
     infringement in this District, has conducted business in this District, and/or has
22
     engaged in continuous and systematic activities in this District.
23
              6.   Upon information and belief, Defendant’s instrumentalities that are
24
     alleged herein to infringe were and continue to be used, imported, offered for
25
     sale, and/or sold in this District.
26
              7.   Venue is proper in this District under 28 U.S.C. §1400(b) because
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     Defendant is deemed to be a resident in this District. Alternatively, acts of
28

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1    infringement are occurring in this District and Defendant has a regular and
2    established place of business in this District.
3                                   PATENT-IN-SUIT
4          8.      On June 9, 2015, the United States Patent and Trademark Office
5    (“USPTO”) duly and legally issued the ’860 Patent, entitled “Digital Verified
6    Identification System and Method.” The ’860 Patent is attached as Exhibit A.
7          9.      Plaintiff is the sole and exclusive owner, by assignment, of the ’860
8    Patent.
9          10.     Plaintiff possesses all rights of recovery under the ’860 Patent,
10   including the exclusive right to recover for past, present and future infringement.
11         11.     The inventor of the ’860 Patent, Mr. Leigh M. Rothschild, was
12   Chairman and Chief Executive Officer of IntraCorp Entertainment, Inc., a
13   consumer software company with worldwide product distribution. From October
14   1998 through February 2004, Mr. Rothschild was also Chairman and founder of
15   BarPoint.com, a NASDAQ publicly traded wireless company that was the leader
16   and early creator of connecting symbology, such as barcodes, to the Internet.
17         12.     Mr. Rothschild is a former presidential appointee to the High-
18   Resolution Board for the United States under former President George H.W.
19   Bush, and has also served as an advisor for former President Ronald Reagan. Mr.
20   Rothschild served Governors on technology boards, served as a special advisor
21   to then Florida Secretary of Commerce John Ellis “Jeb” Bush, and served on the
22   IT Florida Technology Board as an appointee of former Governor John Ellis
23   “Jeb” Bush.
24         13.     Mr. Rothschild chairs the Rothschild Family Foundation, which
25   endows outstanding charities and institutions around the world.
26         14.     The ’860 Patent contains thirty-nine claims including four
27   independent claims (claims 1, 23, 26 and 39) and thirty-five dependent claims.
28         15.     The priority date of the ’860 Patent is at least as early January 2,
                                                3
                           ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT.
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1    2008. As of the priority date, the inventions as claimed were novel, non-obvious,
2    unconventional, and non-routine.
3          16.    Plaintiff alleges infringement on the part of Defendant of the ’860
4    Patent.
5          17.    The ’860 Patent teaches a system and method for verifying and/or
6    authenticating the identification of an entity associated with an electronic file,
7    such as, for example, the digital signatory thereof. See ’860 Patent, Abstract. the
8    system and method include a module generating assembly structured to receive
9    at least one verification data element, and at least one digital identification
10   module structured to be associated with at least one entity. Id. The digital
11   identification module is capable of being disposed or embedded within at least
12   one electronic file. Id. Further, the digital identification module includes at least
13   one primary component structured to at least partially associate the digital
14   identification module with the entity, and one or more metadata components. Id.
15         18.    As noted, the claims of the ’860 Patent have priority date at least as
16   early as January 2, 2008. The present invention solves problems that existed with
17   then-existing methods for electronically signing a document. One common then-
18   existing method of electronically signing a document included placing a forward
19   or backward slash prior to and/or following the signatory's typed name. ’860
20   Patent, 1:26-36. Accordingly, an individual named John Doe might electronically
21   sign a document by placing "/John Doe/" on a signature line that is typically at or
22   near the end of the document. Id. These various electronic signatures or
23   identifiers, however, are rather difficult to authenticate, and as such, it was an
24   arduous, if not impossible task to verify and/or authenticate the identity of the
25   signatory to a respectable degree. Id.
26         19.    The claims of the ’860 Patent overcome deficiencies existing in the
27   art as of the date of invention, and comprise non-conventional approaches that
28   transform the inventions as claimed into substantially more than mere abstract
                                               4
                          ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT.
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1    ideas. For example, the inventive system includes a module generating assembly
2    structured to create at least one digital identification module, wherein the digital
3    identification module is structured to be embedded or otherwise disposed within
4    one or more electronic files. Id., 1:65-2:3. Moreover, an entity, such as a
5    signatory of an electronic document, may communicate at least one verification
6    data element to the module generating assembly prior to creating the digital
7    identification module. Id., 2:3-6. The verification data element(s) may include
8    any indicia or data structured to facilitate the verification or identification of the
9    corresponding entity. Id., 2:6-9. For example, the verification data element(s)
10   may include a username and/or password, date of birth, social security number,
11   driver's license number, credit card number, etc. Id., 2:9-12. In at least one
12   embodiment, the digital identification module includes at least one primary
13   component and at least one metadata component. Id., 2:25-37. The primary
14   component may include, for example, a digital representation of a signature
15   and/or one or more reference codes, numbers, or characters. Id. The primary
16   component is generally visible or perceptible to a reader, recipient, or other user
17   of the electronic document. Id. In addition, the metadata components may be
18   representative of the one or more verification data elements, or other data
19   corresponding to the digital identification module and/or entity, including the
20   date and time, location of the entity, etc. Id.
21         20.    The system(s) and methods of the ’860 Patent include software and
22   hardware that do not operate in a conventional manner. For example, the
23   software is tailored to provide functionality to perform recited steps and the
24   hardware is configured (and/or programmed) to provide functionality recited
25   throughout the claims of the ’860 Patent.
26         21.    The ’860 Patent solves problems with the art that are rooted in
27   computer technology and that are associated with electronically signing a
28   document. The ’860 Patent claims do not merely recite the performance of some
                                                5
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1    business practice known from the pre-Internet world along with the requirement
2    to perform it on the Internet.
3          22.    The improvements of the ’860 Patent and the features recited in the
4    claims in the ’860 Patent provide improvements to conventional hardware and
5    software systems and methods. The improvements render the claimed invention
6    of the ’860 Patent non-generic in view of conventional components.
7          23.    The improvements of the ’860 Patent and the feature recitations in
8    the claims of the ’860 Patent are not those that would be well-understood, routine,
9    or conventional to one of ordinary skill in the art at the time of the invention.
10         24.    The ’860 Patent was examined by Primary United States Patent
11   Examiner Oscar Louie. During the examination of the ’860 Patent, the United
12   States Patent Examiner searched for prior art in the following US Classifications:
13   726/26; 713/176-180; and 380/59.
14         25.    After conducting a search for prior art during the examination of the
15   ’860 Patent, the United States Patent Examiner identified and cited the following
16   as the most relevant prior art references found during the search: US 6,757,826;
17   US 6,895,507; US 6,948,069; US 6,978,369; US 7,047,416; US 7,603,621; US
18   7,844,918; US 2002/0026575; US 2003/0115151; US 2003/0217275; US
19   2005/0050462; US 2005/0160272; US 2006/0173847; US 2008/0040693; and
20   US 2008/0082509.
21         26.    After giving full proper credit to the prior art and having conducted
22   a thorough search for all relevant art and having fully considered the most
23   relevant art known at the time, the United States Patent Examiner allowed all of
24   the claims of the ’860 Patent to issue. In so doing, it is presumed that Examiner
25   Louie used his knowledge of the art when examining the claims. K/S Himpp v.
26   Hear-Wear Techs., LLC, 751 F.3d 1362, 1369 (Fed. Cir. 2014). It is further
27   presumed that Examiner Louie had experience in the field of the invention, and
28   that the Examiner properly acted in accordance with a person of ordinary skill.
                                               6
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1    In re Sang Su Lee, 277 F.3d 1338, 1345 (Fed. Cir. 2002). In view of the
2    foregoing, the claims of the ’860 Patent are novel and non-obvious, including
3    over all non-cited art which is merely cumulative with the referenced and cited
4    prior art. Likewise, the claims of the ’860 Patent are novel and non-obvious,
5    including over all non-cited contemporaneous state of the art systems and
6    methods, all of which would have been known to a person of ordinary skill in the
7    art, and which were therefore presumptively also known and considered by
8    Examiner Louie.
9          27.    The claims of the ’860 Patent were all properly issued, and are valid
10   and enforceable for the respective terms of their statutory life through expiration,
11   and are enforceable for purposes of seeking damages for past infringement even
12   post-expiration. See, e.g., Genetics Institute, LLC v. Novartis Vaccines and
13   Diagnostics, Inc., 655 F.3d 1291, 1299 (Fed. Cir. 2011) (“[A]n expired patent is
14   not viewed as having ‘never existed.’ Much to the contrary, a patent does have
15   value beyond its expiration date. For example, an expired patent may form the
16   basis of an action for past damages subject to the six-year limitation under 35
17   U.S.C. § 286”) (internal citations omitted).
18         28.    The nominal expiration date for the claims of the ’860 Patent is no
19   earlier than April 7, 2034.
20                                     COUNT ONE
21                (Infringement of United States Patent No. 9,054,860)
22         29.    Plaintiff refers to and incorporates the allegations in Paragraphs 1 –
23   28, the same as if set forth herein.
24         30.    This cause of action arises under the patent laws of the United States
25   and, in particular under 35 U.S.C. §§ 271, et seq.
26         31.    Defendant has knowledge of its infringement of the ’860 Patent, at
27   least as of the service of the present complaint.
28         32.    The ’860 Patent is valid, enforceable, and was duly issued in full
                                                7
                           ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT.
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1    compliance with Title 35 of the United States Code.
2          33.       Upon information and belief, Defendant has infringed and continues
3    to infringe one or more claims, including at least Claim 1, of the ’860 Patent by
4    manufacturing, using, importing, selling, offering for sale, and/or providing (as
5    identified in the Claim Chart attached hereto as Exhibit B) its product that is a
6    process method for e-signing digital documents safely (“Product(s)”), which
7    infringes at least Claim 1 of the ’860 Patent. Defendant has infringed and
8    continues to infringe the ’860 patent either directly or through acts of contributory
9    infringement or inducement in violation of 35 U.S.C. § 271.
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     Figure 2 – Excerpt from Exhibit B to this Original Complaint.

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           34.       Defendant also has and continues to directly infringe, literally or

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     under the doctrine of equivalents, one or more claims, including at least Claim 1,

23
     of the’860 Patent, by having its employees internally test and use these exemplary

24
     Products.

25
           35.       The service of this Complaint, in conjunction with the attached

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     claim chart and references cited, constitutes actual knowledge of infringement as

27
     alleged here.

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                                                 8
                            ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT.
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1          36.    Despite such actual knowledge, Defendant continues to make, use,
2    test, sell, offer for sale, market, and/or import into the United States, products
3    that infringe one or more claims, including at least Claim 1, of the ’860 Patent.
4    On information and belief, Defendant has also continued to sell the exemplary
5    Products and distribute product literature and website materials inducing end
6    users and others to use its products in the customary and intended manner that
7    infringes one or more claims, including at least Claim 1, of the ’860 Patent. See
8    Exhibit B (extensively referencing these materials to demonstrate how they direct
9    end users to commit patent infringement).
10         37.    At least since being served by this Complaint and corresponding
11   claim chart, Defendant has actively, knowingly, and intentionally continued to
12   induce infringement of the ’860 Patent, literally or by the doctrine of equivalents,
13   by selling exemplary Products to their customers for use in end-user products in
14   a manner that infringes one or more claims, including at least Claim 1, of the ’860
15   Patent.
16         38.    Exhibit B includes at least one chart comparing the exemplary claim
17   1 of the ’860 Patent to Defendant’s exemplary Products. As set forth in this chart,
18   the Defendant’s exemplary Products practice the technology claimed by the ’860
19   Patent. Accordingly, the Defendant’s exemplary Products incorporated in this
20   chart satisfy all elements of the exemplary claim 1 of the ‘860 Patent.
21         39.    Plaintiff therefore incorporates by reference in its allegations herein
22   the claim chart of Exhibit B.
23         40.    Plaintiff is entitled to recover damages adequate to compensate for
24   Defendant's infringement.
25         41.    Defendant’s actions complained of herein will continue unless
26   Defendant is enjoined by this court.
27         42.    Defendant’s actions complained of herein are causing irreparable
28   harm and monetary damage to Plaintiff and will continue to do so unless and until
                                               9
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1    Defendant is enjoined and restrained by this Court.
2          43.    Plaintiff is in compliance with 35 U.S.C. § 287.
3

4                             DEMAND FOR JURY TRIAL
5          24.    Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure,
6    requests a trial by jury of any issues so triable by right.
7                                 PRAYER FOR RELIEF
8          WHEREFORE, Plaintiff asks the Court to:
9          (a)   Enter judgment for Plaintiff on this Complaint on all cases of action
10   asserted herein;
11         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
12   employees, attorneys, and all persons in active concert or participation with
13   Defendant who receives notice of the order from further infringement of United
14   States Patent No. 9,054,860 (or, in the alternative, awarding Plaintiff running
15   royalty from the time judgment going forward);
16         (c) Award Plaintiff damages resulting from Defendant’s infringement in
17   accordance with 35 U.S.C. § 284;
18         (d) Award Plaintiff such further relief to which the Court finds Plaintiff
19   entitled under law or equity.
20

21   Dated: August 14, 2023                   Respectfully submitted,
22
                                              GARTEISER HONEA, PLLC

23                                            /s/ Randall Garteiser
24
                                              Randall Garteiser
                                              CA State Bar No. 231821
25                                            rgarteiser@ghiplaw.com
26
                                              Christopher A. Honea
                                              CA State Bar No. 232473
27                                            chonea@ghiplaw.com
28                                            GARTEISER HONEA, PLLC
                                                10
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1
                                      119 W. Ferguson Street
                                      Tyler, Texas 75702
2                                     Telephone: (903) 705-7420
3
                                      Attorneys for Plaintiff
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